[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
The reinstatement of the defendants, Patsy Murace and Lisa Murace, due on or before July 30, 1994 is as follows:
    Six monthly payments @ $ 749.50              $4,497.24 Deferred late charges (2/11-7/11/94             285.94 Current late charges                            112.44 Property inspections                               -0- Market analysis                                    -0- Appraisal                                       200.00 Attorney's fees                               2,075.00 Litigation cost                                 450.00 DEP copies                                         -0- ---------- TOTAL    $ 6,620.62 ==========
HICKEY, J. CT Page 6992